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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK.

 

United States of America [Prepesed] Protective Order
v. 20 Cr. 500 (JGK)
Gregory Dwyer,
Defendant.

 

 

Upon the application of the United States of America, with the consent of the undersigned
counsel, and the defendant having requested discovery under Fed. R. Crim. P. 16, the Court
hereby finds and orders as follows:

1, Disclosure Material, The Government will make disclosure to the defendant of
documents, objects and information, including electronically stored information (“ESI”), pursuant to
Federal Rule of Criminal Procedure 16, 18 U.S.C. § 3500, the Government’s general obligation to
produce exculpatory and impeachment material in criminal cases, and pursuant to the
Government’s early voluntary production of materials to assist in the preparation of the defense, all
ot which will be referred to herein as “Disclosure Material.”

2. Confidential Material. Certain of the Government’s Disclosure Material may
include material that the Government wishes to designate confidential. The Government shall be
entitled to designate Disclosure Material in whole or in part as “Confidential” when the
Disclosure Material (i} contains information that affects the privacy, confidentiality, and business
interests of individuals and entities; (ii) would risk prejudicial pretrial publicity if publicly
disseminated; and (iii) would impede, if prematurely disciosed, the Government’s ongoing

investigation. The Government shall produce such confidential Disclosure Material

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(“Confidential Material”) to the defendant or his counsel by (1) designating specific Disclosure
Material in whole or in part as “Confidential” in emails or other written communications to
defense counsel; and (2) stamping the materials with a Bates or other label stating
“Confidential.” Disclosure Material shall not be designated as Confidential Material if it
otiginally belonged to the defendant; is information in the public domain; or is information
independently obtained by the defense.

3. Sensitive Disclosure Material. Certain of the Disclosure Material, referred to
herein as “Sensitive Disclosure Material,” contains information that identifies, or could lead to
the identification of, witnesses whose identifying information the Government wishes to
maintain as confidential based on the protective considerations set forth herein. Sensitive
Disclosure Materials consists of statements and reports that would otherwise be subject to
disclosure under 18 U.S.C. § 3500, which the Government has voluntarily agreed to provide to the
defendant earlier than as provided in the statute.

NOW, THEREFORE, FOR GOOD CAUSE SHOWN, IT IS HEREBY ORDERED:

4, Confidential Material shall not be disclosed by the defendant or defense counsel,
including any successor counsel (the “Defense”), other than as set forth herein, and shall be used
by the defense solely for purposes of defending this criminal action.

5. The Defense shall not post any Confidential Material on any Internet site or network
site to which persons other than the Defense and those individuals described in paragraph 7 below
have access, and shall not disclose any Confidential Material to the media or any third party except
as set forth below.

6. The Government may authorize, in writing, disclosure of Confidential Material

beyond that otherwise permitted by this Order without further Order of this Court.

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7. Confidential Material may be disclosed by the Defense to:

(a) The defendant;

(b) Defense counsel;

(c) Personnel for whose conduct counsel is responsible, i.e., personnel
employed by or retained by counsel, as needed for purposes of defending
this action, including third party vendors;

(d) Prospective witnesses and their counsel for purposes of defending this
action;

(e) Charged co-defendants and their counsel for purposes of defending this
action;

(f) Any other individuals mutually agreed upon by the Government and the
Defense; and

(g) Such other persons as hereafter may be authorized by the Court.

8. Sensitive Disclosure Material shail be disclosed by the Defense only as follows,
to:

(a) The defendant;

(b) Defense counsel;

(c) Personnel for whose conduct the Defense is responsible, Le., personnel
employed by or retained by counsel, as needed for purposes of defending
this action, including third party vendors;

(d) Any other individuals mutually agreed upon by the Government and the
Defense; and

(e) Such other persons as hereafter may be authorized by the Court.

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Sensitive Disclosure Material may also be disclosed by the Defense to charged co-defendants and
their counsel for purposes of defending this action, once the co-defendant has appeared in this
action, and the Court has entered a similar protective order as to that co-defendant, requiring the
co-defendant to undertake to comply with the provisions of this Order.

9, Sensitive Disclosure Materials shall be provided only to those listed in paragraph
8 until thirty days before any set trial date in this matter, or the issuance of a superseding
protective order. Thirty days before the set trial date, the limitations set forth in paragraphs 8(a)
through 8(e) shall be replaced with the limitations set forth in paragraphs 7(a) through 7(g).

10. If there is a dispute between the parties concerning the Government’s designation
of certain Disclosure Material as Confidential Material or Sensitive Disclosure Material, the
parties shall meet and confer without prejudice to a subsequent application by the Defense
seeking de-designation of such material by the Court. Ifthe Defense moves the Court for de-
designation of disputed material, the Government shall respond within seven days of the defense
filing, absent further Order of the Court. The Government shall bear the burden of establishing
good cause for its designation of the disputed materials as Confidential Material or Sensitive
Disclosure Material. |

li. This Order does not prevent the disclosure of any Disclosure Material in any hearing
or trial held in this action, or to any judge or magistrate judge or court personnel, for purposes of this
action. However, Confidential Material pertinent to any motion before the Court should initially be
filed under seal, absent consent of the Government or Order of the Court. All filings should comply
with the privacy protection provisions of Fed. R. Crim. P. 49.1.

12. Except for Disclosure Material that has been made part of the record of this case,

the defendant shall return to the Government or defense counsel or securely destroy or delete all

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Disclosure Material within 30 days of the expiration of the period for direct appeal from any verdict
in the above-captioned case; the period of direct appeal from any order dismissing all of the charges
in the above-captioned case; or the granting of any motion made on behalf of the Government
dismissing al! of the charges in the above-captioned case, whichever date is later. Defense counsel
(rather than the defendant) shall solely maintain the Disclosure Material for the pendency of any
collateral challenge pursuant to 28 U.S.C. §§ 2241 and 2255, If Disclosure Material has been
provided to any prospective witnesses by the Defense, counsel shall make reasonable efforts to
seek the return or destruction of such materials.

13. The Defense shalt provide a copy of this Order to any persons, as contemplated by
paragraphs 7 and 8 of this Order, to whom the defense has disclosed Disclosure Material. Defense
counsel shall maintain a record of what information has been disclosed to which such persons.

14. This Order places no restriction on defendant’s use or disclosure of any material
that was previously within the defendant’s custody, control, or possession, or material that comes
into the defendant’s custody, control, or possession through means other than production by the
Government to the Defense in this case.

Retention of Jurisdiction

15. The provisions of this order shall not terminate at the conclusion of this criminal

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prosecution and the Court will retain jurisdiction to enforce this Order following termination of the

case.

AGREED AND CONSENTED TO:

DAMIAN WILLIAMS
United States Attorney

by: Samuel nal Date: October 21, 2021

Samuel Raymorti / Jessica Greenwood
Assistant United States Attorney

( Dass —— Date: October 73, 2021

a Dabbs / Sean Hecker / Michael Ferrara
ounsel for Gregory Dwyer

    
 

SO ORDERED;

Dated: New York, } New York
October. S , 2021

    
  

THE ONORABLE JOHN G. ROELTL

ED STATES DISTRICT JUDGE

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: U.S. Department of Justice

United States Attorney
Southern District of New York

 

 

The Silvio J. Motlo Building
One Saint Andrew's Plaza
New York, New York 10007

October 25, 2021

VIA ECF and EMAIL

The Honorable John G. Koeltl
United States District Judge
Southern District of New York
500 Peari Street

New York, New York 10007

Re: United States v. Gregory Dwyer, 20 Cr. 500
Deat Judge Koeltl:

The Government respectfully requests, with the defendant’s consent, that the Court enter
the proposed protective order attached to this letter.

Very truly yours,

DAMIAN WILLIAMS
United States Attorney

by: /s Samuel Raymond
Samuel Raymond

Jessica Greenwood

Thane Rehn

Assistant United States Attorneys
(212) 637-6519 / 1090

cc: Defense Counsel (via ECF and email)

 
